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fact, the existence of any such privilege does not affect BAYER’S
obligation to comply with this Agreement.

11) This Agreement is inteaded to be for the benefit of the Parties only and, except as
stated herein, the Parties do not by this instrument release any claims against any
other person or entity, including any individual or entity that purchased drugs or .
biological products from BAYER. |

12) The STATE acknowledges BAYER’s cooperation in the LratE’s investigation of
drug pricing practices and agrees to communicate the bature and extent of this
cooperation to other parties upon the request of BAYER. The making of this
Agreement, and BAYER’s provision of information pursuant to it, shall not be
construed by the STATE as a basis for the exclusion of any of BAYER’s products
from the STATE’s formulary. . .

13) Concurrent with the execution of this Agreement and payment of the Settlement
Amoocnt, the ST. ATE agrees to dismiss with prejudice any lawsuit against BAYER,
including any STATE qui tam “whistleblower” lawsuit encrently pending against
BAYER in the courts of the STATE, relating to the Covered Conduct.

14) Nothing in this Agreement shall be construed to abrogate or alter any existing
obligation of BAYER pursuant to State law.

15) This Agreement, including all exhibits, constitutes the complete agreement between
the Parties and may not be arncnded except by written consent of the Parties.

16) Each party to this Agreement will bear its own legal and other costs incurred in
connection with this matter, mcluding the preparation and performance of this

Agreement.

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17) This agreement is governed by the laws of the State of New York.
18)Uniess otherwise stated im writing subsequent to the Effective Date: of this
“Agreement, all notifications and commumications made pursuant to this Agreement
shall be submitted to the entities listed below:
STATE:
[For the submission of average sale price data]
Phartmacy Director
Pharmacy Policy & Operations
40 Marlboro Road
Delmar, New York 12054
[For legal notices and all other purposes]
State of New York
Office of the Attorney General
Medicaid Fraud Control} Unit
120 Broadway

13th Floor , ”
New York, New York 10271 .

BAYER:
Assistant General Counsel
Bayer Corporation Pharmaceutical Division

400 Morgan Lane
West Haven, CT 06516

me 19) BAYER represents tian Wiis Agieeiient' is freely snd voluntarily entered into without
any degree of duress or compulsion whatsoever.

20) The undersigned individuals signing this Agreement on behalf of BAYER represent

and warrant that they are authorized by BAYER to execute this Agreement. The

undersigned STATE signatories represent that they are signing this Agreement in

their official capacities and that they are authorized to execute this Agreement.

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21)Each party agrees to perform any further acts and ta execute and deliver any firther
documents reasonably necessary to carry out this Agreement. This Agreement may
be executed in counterparts, each of which shall constitute an original and all of
which shall constitute one acd the same Agreement.

22) The parties have read the foregoing Agreement and accept and agree to the provisions
contained therein and hereby have caused this Agreement to be signed as of the day
and date edjacent to their signature.

23)The Effective Date of this Agreement shall be the date upon which all the parties
below have executed this Agreement.

State of New York Bayer Corporation

Office of Attorney General
Medicajd Fraud Control Unit

ate: 3 /7/o¢ » Lilie Epler

Title; Deputy Attorney General Tite’ (Ce © eid et DS Sh. "heeah Maer’ Coun},

Sidley stin, Counsel for BAYER

LE Lnkewe thes

Paul E. Kalb, Esq.
L Scott Bass, Esq.
Robert Fabrikant, Esq.

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Exhibit “A”
Participating States

LOUISIANA
MARYLAND

ae ot a ee Or

VERMONT
WASHINGTON
WISCONSIN ,
WEST VIRGINIA. —
WYOMING

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Exhibit “B”
Threshold States

MISSOURI

NEW JERSEY

_ WASHINGTON

(WISCONSIN

1 08 Ad Ws Wd Niet 9

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Exhibit “Cc”
Certification Form

CERTIFICATION

The undersigned, a high managerial agent of Bayer Corporation, hereby certifies that the
attached average sale price information has been communicated to First DataBank and
that it has been calculated in accordance with the methodology described herein. I -
further acknowledge that the average sale Prices so reported will be filed with and used in
the administration of the State of New York Medicaid program.

Signature

Title

Date

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Exhibit 2
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STATE SETTLEMENT AGREEMENT AND RELEASE
}. PARTIES

This Settlement Agreement (“Agreement”) is entered into by the State of New York and
Bayer Corporation (“Bayer”), an Indiana corporation with a principal place of business in
Pittsburgh, Pennsylvania, hereinafter referred to as “the Parties.”

Ii. PREAMBLE

Asa preamble to this State Agreement, the Parties agree as follows:

A. This Agreement addresses the claims against Bayer for the conduct described in
filings in United States v. Bayer Corporation, Criminal Action No. [to be assigned]|(District of
Massachusetts)(the “Criminal Action”), and in filings in United States ex rei. Couto v. Bayer
Corporation, Civil Action No. 00-CV-10339 (District of Massachusetts){the “Civil Action”) for
the conduct alleged in Preamble Paragraph F below.

- B. On or before April 16, 2003, or somte other date as may be determined by the
Court, Bayer has agreed to or has entered a plea of guilty pursuant to Fed. R. ‘Crim. P.
11(c1)(C) to a one-count Information alleging a violation of Title 21, United States Code,
Sections 331(p), 333(a)(2) and 3606) by failing to list a drug product with the FDA between
August and December 1995, namely, Cipro, that was private labeled by Bayer for Kaiser
Permanente Medical Care Program (“Kaiser”).

-C. Atall relevant times, Bayer marketed and sold pharmaceutical products
nationwide, including among other drugs, two prescription drug products: (1) ciprofloxacin
hydrochloride tablets, an antibiotic, marketed under the brand name Cipro®; and (2) nifedipine
extended release tablets, an anti-hypertensive, marketed under the brand name Adalat CC®
(collectively, “the drugs”). Bayer sold the drugs to various customers including, among others,
health maintenance organizations (“HMOs”), hospitals, long term care providers, and chain

phannacies. Two HMOs that purchased the drugs from Bayer were Kaiser and PacifiCare
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Health Systems (“PacifiCare”). PacifiCare purchased the drugs from Bayer through
Prescription Solutions, a pharmacy benefit manager and wholly owned subsidiary of PacifiCare.

D. Effective August 1995, Bayer agreed to private label Cipro for Kaiser and to sell
the private labeled Cipro to Kaiser at a discounted price, The term “private labeled” as used
herein, means drug product that Bayer sold to a purchaser to which Bayer affixed a label that
substituted the purchaser’s national drug code (“NDC”) for Bayer’s NDC number. Effective
April 1997, Bayer agreed to private label Adalat CC for Kaiser and to sell the private labeled
Adalat CC to Kaiser at a discounted price, Effective October 1998, Bayer agreed to private label
Adalat CC for PacifiCare and to sell the private labeled Adalat CC to PacifiCare at a discounted
price.

E. At all material times, Bayer participated in the Medicaid Rebate Program, 42
U.S.C. § 13961-8, which is part of the federal Medicaid Program, Title XIX of the Social
Security Act, 42 U.S.C. §§ 1396-1396v. As a participant in the Medicaid Rebate Program,
Bayer entered into a rebate agreement with the Secretary of the Department of Health and .
Human Services, which agreement is administered by the Health Care F inancing Administration
(“HCFA”), currently known as the Center for Medicare and Medicaid Services CCMS”), and:
Bayer’s drug products were covered by state Medicaid plans that provided medical assistance for
outpatient prescription drugs. 42 U.S.C. §§ 1396a(10)(A); 1396d(a)(12), and 1396r-8(a}(1).
Under the Medicaid Rebate Program and rebate agreement with HCFA, Bayer generally agreed:
(i) to report quarterly to HCFA its average manufacturer price and Best Price for its drug
products, as defined by 42 U.S.C. §§ 1396r-8(k)(1} and 1396r-8(c)(1)(C); and (ii) to pay
quarterly rebates to the states based on the product of (a) the units of each dosage form and
strength paid for under the State Medicaid plan during the rebate period as reported by the state,
and (b) the greater of the difference between the average manufacturer price and, Best Price, or a
minimum rebate percentage of the average manufacturer price, as further defined in 42 U.S.C. §
1396r-8(c)(1).

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F, __ The State of New York contends that it has certain civil claims against Bayer
Corporation under the Medicaid Rebate Program, 42 U.S.C. § 1396r-8, the Drug Pricing
Program, 42 U.S.C. § 256b, other federal and state statutes, and/or common law doctrines for

" engaging in the following conduct: .

{i) The State of New York contends that, from Third Quarter 1995 through
Third Quarter 2000, Bayer knowingly misreported its Best Price to HCFA and underpaid its
Medicaid rebates for Cipro tablets by omitting the price of Cipro that was private labeled for
Kaiser from its determination of Best Price;

(ii) The State of New York contends that, from Second Quarter 1997 through
- Third Quarter 2000, Bayer knowingly misreported its Best Price to HCFA and underpaid its
Medicaid rebates for Adalat CC by omitting the price of Adalat CC that was private labeled for
Kaiser and PacifiCare from its determination of Best Price;

Giii) The State of New York contends that, i in May and June 1999, Bayer

knowingly s submitted false stateme ar records to the Office of Inspector Ganaral Offre nf

MS WN Mae Ww Keke WA SAS eR AI RENE ly Mas Wa

Audit Services, Department of Health and Human Services (“OIG-OAS") by (a) omitting
material information about the price of Cipro tablets that was private labeled for Kaiser; (b)
falsely stating that a higher priced package of Cipro was private labeled for Kaiser when it was
not; and (c) falsely stating that the actual price at which Bayer sold Cipro to Kaiser was higher
than Bayer’s reported Best Price;

(iv) The State of New York contends that, in First Quarter 1998, Bayer
knowingly misreported its Best Price to HCFA and underpaid its Medicaid rebates for Adalat cc
by omitting a $100,000 payment made by Bayer to Prescription Solutions in connection with
Adalat CC;

(vy) The State of New York contends that Bayer knowingly failed to list the
Cipro that Bayer private labeled for Kaiser with the FDA to conceal the private labeling

arrangement from the FDA and customers of Bayer’s Cipro.

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Bayer’s conduct as described in the Criminal Action, the currently pending claims in the
’ Civil Action, and this Preamble Paragraph are hereafter referred to as the “Covered Conduct.”

G. The State of New York represents that it does not have an administrative claim for
exclusion against Bayer under the provisions for mandatory exclusion from the Medicare,
Medicaid and other federal health care programs, 42 U.S.C. § 1320a-7(a) or corresponding state
statutes, for Bayer’s conviction in the Criminal Action or for the Covered Conduct, but alleges
that it does have certain administrative claims for exclusion against Bayer under the provisions -
for permissive exclusion from the Medicare, Medicaid and other federal health care programs, 42
U.S.C. § 1320a-7(b) and corresponding state statutes, for the Covered Conduct.

H. Other than such admissions as Bayer makes in connection with its plea to the
Information to which Bayer has agreed to enter a plea of guilty, which Bayer admits, Bayer
denies the remaining allegations of the United States, telator(s) and the State of New York as set
forth herein. This Agreement does not constitute an admission by Bayer or evidence of any ,
liability or wrongful conduct.

I. To avoid the delay, expense, inconvenience, and uncertainty of protracted
litigation of these claims, the Parties mutually desire to reach a full and final settlement as set
forth below.

Ill. TERMS AND CONDITIONS
NOW, THEREFORE, in reliance on the representations contained herein and in
consideration of the mutual promises, covenants, and obligations in this Agreement, and for good
and valuable consideration, receipt of which is hereby acknowledged, the Parties agree as
follows:

1. Bayer agrees to pay to the United States and to the Escrow Agent described below
for distribution to the states and the District of Columbia that execute a state settlement
agreement that has also been executed by Bayer (“Participating States”) the sum of two-hundred,
forty-two million, one-hundred twenty-six thousand, five-hundred eighty dollars ($242,126,580)

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and III.1.B herein. Payments to the United States and to the Participating States shall be made
pursuant to the following terms and conditions:

A. Bayer has agreed to pay to the United States the sum of one-hundred,
thirty-three million, one-hundred and sixty-nine thousand, six-hundred and nineteen dollars
($133,169,619) (the “Federal Medicaid Settlement Amount"), which represents the federal share
of the Medicaid Settlement Amount and the share of the Medicaid Settlement Amount payable to
the relator(s) in certain federal False Claims Act lawsuit(s). The Federal Medicaid Settlement
Amount, plus any pre-transfer interest pursuant to Section III.1.A of the Federal Agreement, shall
be paid pursuant to a civil settlement agreement entered between Bayer and the United States
(the “Federal Agreement”).

B. Bayer agrees to deposit into an escrow account the sum of one-hundred
and eight million, nine-hundred, fifty-six thousand, nine-hundred and sixty-one dollars
($108.956,961) (the “State Medicaid Settlement Amount”), which represents the state-funded
portions of the claims settled for the Medicaid programs of all states (except Arizona) and the
District of Columbia. Bayer shali pay the State Medicaid Settlement Amount, plus any pre-
transfer interest pursuant to Section I1.1.B of the Federal Agreement, into the escrow account no
later than seven business days after Bayer receives written transfer instructions from the
negotiating team for the National Association of Medicaid Fraud Control Units (“NAMFCU
Negotiating Team”) and following the latest of the dates on which the following occurs: (1) the
Federal Agreement is fully executed by the Parties and delivered to Bayer’s attorneys, (2) the
Escrow Agreement is executed by or on behalf of the Participating States and Bayer, and (3) the
Court accepts the Fed. R. Crim. P. 11(e)(1)(C) guilty plea in connection with the Criminal Action
as described in Preamble Paragraph 11.B, and imposes the agreed upon sentence. The escrow
account into which Bayer shall deposit the State Medicaid Settlement Amount shall be an

account under the custody and control of the Medicaid Fraud Control Unit of the State of New

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York, which shall be designated by the NAMFCU Negotiating Team and which shall act as
Escrow Agent and shall retain such funds until their release in accordance with the Escrow
Agreement entered into between Bayer and the Medicaid Fraud Control Unit of the State of New
York.

C. The total portion of the Medicaid Settlement Amount paid by Bayer in
settlement for alleged injury to the Medicaid Program for the State of New York is
$17,256,166.63, consisting of a portion paid to the State of New York under this Agreement and
another portion paid to the federal government as part of the Federal Settlement. The individual
portion of the State Medicaid Settlement Amount allocable to the State of New York is the sum
of $9,133,252.63 (“Individual State Medicaid Settlement Amount”).

D. The State of New York shall be entitled to disbursement of its Individual
State Medicaid Settlement Amount from the escrow account pursuant to the terms of the Escrow
Agreement, which is attached hereto as Exhibit A and is incorporated by reference herein.

2. In consideration of this Agreement and payment set forth herein and subject to the
exceptions from release set forth in Paragraph 3 below, the State of New York on behalf of itself,
its officers, agents, agencies and departments shall release and forever discharge Bayer, its
current and former parents, affiliates, divisions, and subsidiaries, and their predecessors,
successors and assigns, from any civil or administrative claims for damages or penalties that the

State of New York has or may have relating to the Covered Conduct. The payment of the

Medicaid Settlement Amount fully discharges Bayer from any obligation to pay Medicaid-related

restitution, damages, and/or any fine or penalty for the Covered Conduct.

3. Notwithstanding any term of this Agreement, the State of New York specifically
does not herein release Bayer, its current and former parents, affiliates, divisions, and
subsidiaries, and their predecessors, successors and assigns, and its current and former directors,
officers, agents and employees from any and all of the following: (a) any potential criminal,

civil or administrative claims arising under State of New York revenue codes; (b) any criminal

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liability not specifically released by this Agreement; (c) any civil or administrative liability that -
Bayer has or may have under any state statute, regulation, or rule not covered by the release; (d)
any liability to the State of New York (or its agencies) for any conduct other than the Covered
Conduct; (e) any claims based upon such obligations as are created by this State Settlement
Agreement.

4. In consideration of the obligations of Bayer set forth in this Agreement and
payment set forth herein and except as reserved in Paragraph 3 above, the State of New York
agrees to release and refrain from instituting, directing, recommending or maintaining (a) any
administrative claim; or (b) any action seeking exclusion from the State of New York’s Medicaid
program; against Bayer, its current and former parents, affiliates, divisions, and subsidiaries, and
their predecessors, successors and assigns, for the Covered Conduct or for Bayer’s conviction in
the Criminal Action. Nothing in this Agreement precludes the State of New York from taking
action against Bayer in the event that Bayer is excluded by the federal government, or for
conduct and practices other than the Covered Conduct or the conviction in t Criminal Ac jon.
The Medicaid Fraud Control Unit for the State of New York further agrees to refrain from
recommending, causing or attempting to cause any administrative action or sanction, including
debarment, by any other government agency. of the State of New York for the Covered Conduct
or for the conviction in the Criminal Action. The State of New York does not have the authority.
to release Bayer from any claims or actions which may be asserted by private payoys or insurers,
including those that are paid by a State’s Medicaid program on a capitated basis, which are nota
party to the Medicaid Rebate Program.

5. The making of this Agreement shall not be construed by the State of New York as
a basis for the exclusion of any of Bayer’s products from the State of New York's formulary or as.
a basis for a change in status regarding prior authorization.

6. The State of New York agrees to dismiss with prejudice any lawsuit specifically

as to Bayer, including any state qui tam “whistleblower” lawsuit, in which the state has

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intervened and/or has the authority to dismiss, currently pending against Bayer in the courts of

7. This Agreement expressly conditioned upon acceptance of Bayer’s plea of
guilty in the Criminal Action. In consideration of the acceptance of Bayer's plea of guilty in the’
Criminal Action, the State of New York agrees that it shall not investigate, prosecute, or refer for
prosecution or investigation to any agency, Bayer, its current and former parents, affiliates,
divisions, and subsidiaries, and their predecessors, successors and assigns, for the Covered
~ Conduct.

8. Bayer fully and finally releases the State of New York, its agencies, employees,
servants, and agents from any claims (including attorneys fees, costs, and expenses of every kind
and however denominated) which Bayer has asserted, could have asserted, or may assert in the
future against the State of New York, its agencies, employees, servants, and agents, related to or
arising from the investigation and prosecution of the Covered Conduct up to the effective date of
this Settlement Agreement.

9. Nothing in this agreement shall preclude either Bayer or the State of New York
from pursuing any rights they have pursuant to the Medicaid Rebate Program as to adjustments
to Rebate Payments, except to the extent that no adjustment shall be made to Best Price based
upon Covered Conduct, which this agreement settles. .

10. Bayer waives and will not assert any defenses it may have to any criminal
prosecution or administrative action relating to the Covered Conduct which defenses may be
based in whole or in part on a contention that, under the Double Jeopardy Clause of the Fifth
Amendment of the Constitution or Excessive.F ines Clause of the Ei ghth Amendment of the
Constitution, this Setement Agreement bars a remedy sought in such criminal prosecution or
administrative action. Provided, however, that nothing in this paragraph is intended to, or will
operate to, limit the scope of Paragraph 7, in which the State of New York agrees not to prosecute

or investigate Bayer for certain conduct.
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11, Except as otherwise specified herein, this Agreement is intended to be for the
benefit of the Parties only, and by this instrument the Parties do not release any claims against
any other person or entity, including but not limited to any individual or entity that purchased
Cipro and Adalat from Bayer,

12. Nothing in any provision of this Agreement constitutes an agreement by the State
of New York concerning the characterization of the Medicaid Settlement Amount for purposes of
the state internal revenue laws.

13. In addition to all other payment and responsibilities under this Agreement, Bayer
agrees to pay al! reasonable travel costs and expenses of the NAMFCU Negotiating Team.
Bayer will pay this amount by separate check or wire transfer made payable to the National
Association of Medicaid Fraud Control Units after the Participating States execute this
Agreement. .

14. Bayer covenants to cooperate fully and truthfully with the State of New York in
any ongoing investigation or investigation commenced within five years of the effective date of

this Agreement of individuals and entities not specifically released by this Agreement (including
any parties with whom Bayer has or has had a business or professional relationship, including

but not limited to vendors, contractors, partners, joint venturers, physicians, and referral sources) .

relating to the Covered Conduct.

15. Notwithstanding any provision of this Agreement, Bayer is not required to (1)
Tequest of its present or former officers, directors, employees or agents that they forego seeking
the advice of an attomey nor that they act contrary to that advice; (2) take any action against its
directors, employees or agents for following their attorney’s advice or for failing to submit to an
interview or otherwise cooperate with the State of New York; or (3) waive any privilege or claim
of work product. The failure of any individual to submit to an interview or otherwise to refuse to

cooperate with the State of New York shall not constitute a breach. of this Agreement by Bayer.
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16. Bayer shall enter into an Addendum to its existing Corporate Integrity Agreement
with HHS-OIG in connection with this matter.

17. Bayer represents that this Agreement is freely and voluntarily entered into without
any degree of duress or compulsion whatsoever.

18. The undersigned Bayer Signatory represents and warrants authorization by the
Board of Directors to execute this Agreement. The undersigned State of New York signatories -
represent that they are signing this Agreement in their official capacities and they are authorized
to execute this Agreement on behalf of the State of New York through their respective agencies
and departments.

19. This Agreement is governed by the laws of the State of New York.
20. This Agreement is effective on the date of signature of the last signatory to the
Agreement. .

. 21. This Agreement shall be binding on all successors, transferees, heirs and assigns
of the Parties, provided, however, this Agreement shal] not apply to the products of an acquiring
company or a company merging with Bayer except to the extent such company, as’a result of the
acquisition of or merger with Bayer, becomes involved in the sales, marketing or pricing of, or
Medicaid Drug Rebate program obligations associated with, drug and biologic products for
which the Federal health care programs provide reimbursement (“Government Reimbursed
Products”) originally manufactured by Bayer prior to the merger or acquisition, in which case the
obligations of this agreement shall apply only to those products which had been Government
Reimbursed Products when they were manufactured by Bayer.

22. This Agreement constitutes the complete agreement between the Parties with
regard te the Covered Conduct. This Agreement may not be amended except by written consent

of the Parties.

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23. Each party agrees to perform any further acts and to execute and deliver any
further documents reasonably necessary to carry out this Agreement. This Agreement may be
executed in counterparts, each of which shall constitute an original and all of which shall

constitute one and the sarne Agreement.

For the State of New York:

By: Lobe, . Comsrdten Dated: 3 -/4-03

Title: MDaet for
Mebic4:> FeAub Conieol Unit

BAYER CORPORATION

By: Dated:
JON R. WYNE
Senior Vice President and Treasurer
Bayer Corporation

By: Dated:
PAUL E. KALB
' JAMES C. STANSEL
Sidley Austin Brown & Wood, LLP
1501 K Street, NW
Washington, DC 20005
Counsel to Bayer Corporation

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U.S. Department of Justice

United States Attorney
. District of Massachusetts

Main Reception: (617) 748-3100 . United States Courthouse, Suite 9200
1 Courthouse Way .
Boston, Massachusetts 02210

April 7, 2003

I. Scott Bass, Esq.

Paul E. Kalb, Esq.

Nathan C. Sheers, Esq.

Sidley Austin Brown & Wood LLP
1501 K Street NW

Washington, DC 20005

Re: Bayer Corporation
Dear Messrs. Bass, Kalb and Sheers:

This letter sets forth the Agreement between the United States Department of Justice and
the United States Attorney for the District of Massachusetts (the “U.S. Attomey")(collectively,
the United States Department of Justice and the U.S. Attorney shall be referred to as the “United

States”) and your client, Bayer Corporation (“Bayer”), an Indiana Corporation, (collectively
referred to as “the Parties”) as follows:

1. Guilty Plea

On or before April 16, 2003, or such other date as the Court may set, Bayer shall waive
indictment and plead guilty to the Information attached hereto as Exhibit A, charging a felony
violation of Title 21, United States Code, Sections 331(p), 333(a)(2) and 360(j), by failing to
provide notice to the FDA of the introduction of private label Cipro for commercial distribution
to Kaiser Permanente, which drug had not been included in any list previously filed by Bayer
with the FDA. Bayer expressly waives any statute of limitations defense that it may have in»
connection with this crime. Bayer expressly and unequivocally admits that it committed the
crime charged in the attached Information with the intent to defraud or mislead.

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2. Sentencing Guidelines — Be

The United States and Bayer agree that the following provisions of the United States
Sentencing Guidelines (“U.S.S.G.") apply to sentencing of Bayer with respect to the Information:

(a)

(bo)

(=)

(¢)

pursuant to U.S.S.G. § 8C2.4(a) and 18 U.S.C. § 3571(d), the pecuniary
loss intended by Bayer from the offense for criminal sentencing purposes
is $4,659,000;

pursuant to U.S.S.G. § 8C2.5, the culpability score is 6 as follows:

(} _ base score of S pursuant to § 8C2.5{a);
Gi) add three points pursuant to § $C2.5(bK3)(BXi) and/or (ii);
Gii) deduct 2 points pursuant to § 8C2.5(g)(2).

pursuant to § 8C2.6, the appropriate range for a multiplier is 1.2 to 2.4, and

the appropriate multiplier to be applied to Bayer is 1-2.

the parties agree that there is no basis for a departure under the USS.G.,
either mmwards or downwards.

aa HE

3. 1 Dispositi

The United States and Bayer agree pursuant to Fed. R. Crim. P.'1 1(cX1 XC} that the
following sentence is the appropriate disposition of the information:

(a)

{b).

a criminal fine in the amount of five million five hundred ninety thousand
eight hundred dollars ($5,590,800) to be paid within one week of the date
of sentencing; .

a mandatory special assessment of $400 pursuant to 18 U.S.C. § 3013,
which shall be paid to the Clerk of Court on or before the date of
sentencing; .

in light of the pending civil action, United States ex rel, George Couto y, Bayer
‘on, Civil Action 00-10339-PBS (D. Mass.) and the Civil Settlement Agreement .
between Bayer and others and the United States relating to the civil action which is being signed
contemporancously with this plea agreement, and attached hereto as Exhibit B, the parties agree
that the complication and prolongation of the sentencing process that would result from an
attempt to fashion a proper restitution order outweighs the need to provide restitution to the
victims in this case, where, as here, the loss suffered by the victims of this crime will be
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recompensed fully from amounts paid as part of the Civil Settlement Agreement. See, 18,U.S.C.
§ 3663(a\(1)(BX ii). Therefore, the United States agrees that it will not seek a separate restitution
order as to Bayer as part of the resolution of the Information and the Parties agree that the
appropriate disposition of this case does not include a restitution order.

The United States may, at its sole option, be released from its commitments under this
Agreement, including, but not limited to, its agreement in this paragraph regarding the

appropriate disposition of this case, if at any time between its execution of this Agreement and
sentencing, Bayer:

. (8) Fails to admit a complete factual basis for the plea;
(>) Fails to truthfully admit its conduct in the offense of conviction:

(c) Falsely denies, or frivolously contests, relevant conduct for which Bayer is
accountable under U.S.S.G. § 1B1.3;

(d) Gives false or misleading testimony in any proceeding relating to the criminal
conduct charged in this case and any relevant conduct for which Bayer is
accountable under U.S.S.G. § 1B1.3;

(e) Engages in acts which form a basis for finding that Bayer has obstructed or
impeded the administration of justice under U.S.S.G. §3C1.1; and/or

(p Attempts to withdraw its plea.

Bayer expressly understands that it may not withdraw its plea of guilty, unless the Court
rejects this Agreement under Fed. R. Crim. P. 11(c)(5).

- 4, No Further Prosecution of Bayer

Pursuant to Fed. R. Crim. P. 11(c)(1)(A), the United States agrees that, other than the
charge in the attached Information, it shall not further prosecute Bayer for conduct which (a) falls
within the scope of the Information; (b) was the subject of the investigation by the grand jury; or
(c) was known to the U.S. Attomey prior to the date of execution of this letter.

The U.S. Attorney expressly reserves the right to prosecute any individual, including but
not limited to present and former officers, directors, employees, and agents of Bayer, in

connection with the conduct encompassed by this plea agreement, within the scope of the grand
jury investigation, or known to the U. S. Attorney.
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This declination is contingent on (1) the guilty plea of Bayer being accepted by the Court
and not withdrawn, and (2) Bayer’s performance of all of its obligations as set forth in this
Agreement and the attached Civil Settlement Agreement. A breach of the Corporate Integrity
Agreement and Addendum thereto (collectively “CIA”), incorporated by reference in the Civil
Settlement Agreement, does not constitute a breach of this Plea Agreement, and any disputes
arising under the CLA shall be resolved exclusively through the dispute resolution provisions of

‘the CIA. If Bayer’s guilty plea is not accepted by the court or is withdrawn for any reason, or if
Bayer.should fail to perform an obligation under this Agreement or the Civil Settlement —
Agreement, this declination of prosecution shall be null and void.

5. ayment of Mandatory Special Ass

Bayer agrees to pay the mandatory special assessment to the Clerk of Court on or before
the date of sentencing.

6. Cooperation

Bayer agrees to cooperate completely and truthfully with the U.S. Attorney in conection
with his on-going investigation and prosecution of others for alleged violations of federal -

criminal law arising out of his investigation. Bayer understands and agrees that such cooperation
shalt include the following, if requested by the U.S. Attorney:

(a) | prompt production to the U.S. Attomey of any document or record in the

possession, custody or contro! of Bayer relating to the subject matters of the
investigation; .

(b) "taking all reasonable measures available to Bayer to-cnsure that present and.

former officers, directors, agents and employees of Bayer cooperate truthfully and

completely with the U.S. Attorney in connection with his on-going investigations
and prosecutions

(c) taking all reasonable measures available to Bayer to make all present and former

officers and employees of Bayer available for interviews by law enforcement
personnel, on reasonable notice.

Provided, however, that notwithstanding any provision of this Agreement, (1) Bayer is not
required to request of its present or former officers, directors, employees or agents that they
forego secking the advice of an attorney nor that they act contrary to that advice; (2) Bayer is not
required to take any action against its officers, directors, employees or agents for following their
attomney’s advice; and (3) Bayer is not required to waive any privilege or claim of work product,
except to the extent previously agreed by letters dated August 4, 2000 between AUSA Susan

Winkler and Paul Kalb, Esq.; and dated June 11, 2002 between AUSA Susan Winkler and Paul
Kalb, Esq. and Scott Bass, Esq.
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7. Probation Department Not Bound By Agreement

The sentencing disposition agreed upon by the parties and their respective calculations
under the Sentencing Guidelines are not binding upon the United States Probation Office.

8 ed. R. Crim. P. 1 1c A en!

Bayer’s plea will be tendered pursuant to Fed. R. Crim. P. 11(cX1)(C). Bayercannot
withdraw its plea of guilty unless the sentencing judge rejects this Agreement or fails to impose a
sentence consistent herewith. If the sentencing judge rejects this Agreement or fails to impose a

sentence consistent herewith, this Agreement shall be null and void at the option of either the
United States or Bayer.

Bayer may seek sentencing by the District Court immediately following the Rule 11 plea
hearing. The United States does not object to the Court proceeding to sentence Bayer
immediately following the Rule 11 plea hearing or in the absence of a Presentence Report in this
case. Bayer understands that the decision whether to proceed immediately following the plea

hearing with the-sentencing proceeding, and to do so without a Presentence Report, is exclusively
that of the United States District Court.

9. ivil and Administrative Liabili

By entering into this Agreement, the United States does not compromise any civil or
administrative liability, including but not limited to any False Claims Act or tax liability which

Bayer may have incurred or may incur as a result of its conduct and its plea of guilty to the _
. attached Information.

Bayer’s civil liability to the United States in connection with certain of the matters under
investigation by the United States is resolved in the Civil Settlement Agreement, attached as
Exhibit B, according to the terms set forth in that Agreement.

Contemporaneously with the execution of this Agreement, Bayer shall enter into the CIA.

with the Office of Inspector General for the United States Department of Health and Human
Services, attached as Exhibit C- ,

10. Waiver of Defenses

If Bayer’s guilty plea is not accepted by the Court for whatever reason, or is later
withdrawn for whatever reason, Bayer hereby waives, and agrees it will not interpose, if charges
are filed within 30 days of the date on which such guilty plea is rejected or withdrawn, any _
defense to any charges brought against it which it might otherwise have under any statute of

limitations or the Speedy Trial Act, except any such defense that Bayer may already have for
conduct occurring before May 8, 1997.
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11. Breach of Agreement

If the U.S. Attorney determines that Bayer has failed to comply with any material
provision of this Agreement, the United States may, at its sole option, be released from its
commitments under this Agreement in its entirety by notifying Bayer, through counsel or
otherwise, in writing. The United States may also pursue all remedies available under the law, —
even if it elects not to be released from its commitments under this Agreement. Bayer recognizes
that no such breach by Bayer of an obligation under this Agreement shall be grounds for
withdrawal of its guilty plea. Bayer understands that should it breach any material provision of.
this Agreement, the U.S. Attomey will have the right to use against Bayer before any grand jury,
at any trial or hearing, or for sentencing purposes, any statements which may be made by Bayer,
and any information, materials, documents or objects which may be provided byittothe ~
government subsequent to this Agreement, without any limitation.

Bayer understands and agrees that this 11(c)(1}(C) plea agreement and its agreed upon
criminal disposition: -

(1) are wholly dependent upon Bayer’s timely compliance with the provisions of the
attached Civil Settlement Agreement, including the requirement in the agreement
that Bayer pay to the United States and to the various state Medicaid Programs the
amount of two hundred forty two million one hundred twenty six thousand five
hundred eighty dollars ($242,126,580), and that Bayer pay to the PHS entities the
amount of no less than nine million four hundred eighty two thousand six hundred
twenty dollars ($9,482,620) in accord with the terms of the Civil Settlement
Agreement; and that

(2) failure by Bayer to comply fully with the terms of this Agreement or the attached
Civil Settlement Agreement will constitute a breach of this Agreement.

In the event Bayer at any time hereafter breaches any material provision of this Agreement, Bayer
understands that (1) the United States will as of the date of that breach be relieved of any .
obligations it may have in this Agreement and the attached Civil Settlement Agreement,
including but not limited to the promise not to further prosecute Bayer as set forth in paragraph 4
of this Agreement; and (2) Bayer will not be relieved of its obligation to make the payments set
forth in this Agreement and the attached Civil Settlement Agreement, nor will it be entitled to
return of any monies already paid.

12. Corporate Authorization

Bayer’s acknowledgment of this Agreement and execution of this Agreement on behalf of
the corporation is attached as Exhibit D. Bayer shall provide to the U.S. Attomey and the Court
a certified copy of a resolution of the Board of Directors of Bayer Corporation, affirming that the
Board of Directors has authority to enter into the Plea Agreement and has (1) reviewed the
Information in this case and the proposed Plea Agreement; (2) consulted with legal counsel in

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connection with the matter; (3) voted to enter into the proposed Plea Agreement; (4) voted to
authorize Bayer to plead guilty to the charge specified in the Information; and (5) voted to
authorize the corporate officer identified below to execute the Plea Agreement and all other
documents necessary to carry out the provisions of the Plea Agreement. A copy of the resolution
is attached as Exhibit E. Bayer agrees that either a duly authorized corporate officer or a duly

authorized attomey for Bayer, at the discretion of the Court, shall appear on behalf of Bayer and
enter the guilty plea and will also appear for the imposition of sentence.

13. | Who Is Bound ment

‘This Agreement is binding upon Bayer and the Attomey General of the United States, the
United States Department of Justice, and all United States Attorneys on the matters set forth
above in Paragraph 4, but does not bind the Tax Division of the U.S. Department of Justice or the
Internal Revenue Service of the U.S. Department of the Treasury. A copy of the letter to United
States Attorney Michael Sullivan from Michael Chertoff, Assistant Attorney General, Criminal
Division, Department of Justice, authorizing this Agreement is attached as Exhibit F. Bayer
understands that this Agreement does not bind any state or local prosecutive authorities.

14. Complete Agreement

This Agreement, together with the Civil Settlement Agreement, set forth the complete .
and only agreement between the Parties relating to the disposition of this matter. No promises,
representations, agreements or conditions have been entered into other than those set forth in this
letter and its attachments A through F. This agreement supersedes prior understandings, if any,
of the parties, whether written or oral. This agreement can be modified or supplemented only in
a written memorandum signed by the Parties or as agreed by the Parties on the record in court.

if this letter accurately reflects the Agreement entered into between the United States and
your client Bayer Corporation, please have Bayer sign the Acknowledgment of Agreement.
below. Please also sign as Witness. Return the original of this letter to Assistant U.S. Attomey
Susan G. Winkler of the United States Attomey’s Office of the District of Massachusetts.

Very truly yours

C
By:

‘MICHAZLI-SULLIVAN
United Sfates Attomey
Dis of Massachypsetts

By: Jhewcerl Me

SUSAN‘G. WINKLER

Deputy Chief, Health Care Fraud
GEORGE W. VIEN
Assistant U.S. Attomey

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY AVERAGE MDL NO. 1456
WHOLESALE PRICE LITIGATION C.A. No. 01-CV-12257 (PBS)
THIS DOCUMENT RELATES TO: HON. PATTI B. SARIS
COUNTY OF SUFFOLK,

Plaintiff,

Vv.
ABBOTT LABORATORIES, INC., et al.

Defendants.

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MEMORANDUM OF LAW OF CERTAIN “SUFFOLK-ONLY DEFENDANTS?” IN
SUPPORT OF MOTION TO DISMISS AMENDED COMPLAINT

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PRELIMINARY STATEMENT

Defendants Berlex Laboratories, Inc., Forest Pharmaceuticals, Inc., Purdue Pharma L.P. -
and Reliant Pharmaceuticals, LLC (hereinafter “Suffolk-Only Defendants”) jointly submit this
Memorandum of Law in support of the Motion to Dismiss Plaintiff County of Suffolk’s
(“Suffolk”) Amended Complaint.'

The Suffolk-Only Defendants referenced herein are not named as Defendants in the
Amended Master Consolidated Complaint or in the myriad other proceedings which have been
filed, most of which focus heavily on alleged abuses regarding Medicare Part B drugs.” But for
each of the Suffolk-Only Defendants, Suffolk identifies only one drug at issue in the Amended
Complaint, and none of these is a Medicare Part B drug.

Largely employing rhetoric only applicable to Medicare Part B situations and trumpeting
governmental investigations of other pharmaceutical companies, Suffolk seeks to ensnare the
Suffolk-Only Defendants in the expansive In re Pharmaceutical Industry Average Wholesale
Price Litigation by making allegations which are: (1) conclusory and devoid of the factual
support required by Rule 9(b), and (2) demonstrably lacking in merit and logic. Indeed,

Suffolk’s effort to confuse Medicare issues with Medicaid issues and to plead in generalities is a
perfect illustration of why it is essential that a plaintiff be held to the pleading standard required.

by Rule 9(b).

' The Suffolk-Only Defendants adopt and incorporate by reference all of the arguments advanced
on behalf of all defendants in the Joint Motion to Dismiss and supporting Memorandum.

? Berlex Laboratories, Inc., Forest Pharmaceuticals, Inc., and Reliant Pharmaceuticals, LLC have

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ARGUMENT

I. SUFFOLK’S COMPLAINT FAILS TO SATISFY RULE 9(b) AS TO THE
SUFFOLK-ONLY DEFENDANTS.

Rule 9(b) requires that a plaintiff alleging fraud must “(1) specify the statements that
plaintiff contends were fraudulent, (2) identify the speaker, (3) state where and when the
statements were made, and (4) explain why the statements were fraudulent.” Suna v. Bailey
Corp., 107 F.3d 64, 68 (ist Cir. 1997) (quoting Shields v. Citytrust Bancorp, Inc., 25 F.3d 1124,
1127 (2d Cir. 1994)). This requirement applies to each defendant. Sebago, Inc. v. Beazer East,
Inc., 18 F. Supp. 2d 70, 79 (D. Mass. 1998). This Court, in this litigation, held in May 2003 that
Rules 8 and 9(b) required that the class action plaintiffs in one of the other consolidated actions
“clearly and concisely allege with respect to each defendant: (1) the specific drug or drugs that
were purchased from defendant, (2) the allegedly fraudulent AWP for each drug, and (3) the
name of the specific plaintiff(s) that purchased the drug.” Jn re Pharm. Industry Average
Wholesale Price Litig., 263 F. Supp. 2d 172, 194 (D. Mass. 2003).

Suffolk’s allegations with respect to the Suffolk-Only Defendants fall far short of the
Rule 9(b) standard. Suffolk includes allegations regarding investigations and settlements of
other Defendants and involving drugs covered by an entirely different federal health program.
None of these allegations has anything to do with the Suffolk-Only Defendants. As to this group
of Defendants, Suffolk makes only conclusory allegations that follow the same pattern and are
equally vague.

The Amended Complaint claims that each Suffolk-Only Defendant: (1) manufactures
and sells prescription drugs with false and inflated AWPs (Am. Compl. {ff 30, 35, 47, 48);

(2) reported inflated prices, which constituted “fraud” (id. 4] 182-87; 213-17, 280-83, 284-88);

and (3) participated in “Manufacturer-Publisher Enterprises,” three alleged associations-in-fact

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which contain allegations identical to the scores of other alleged associations-in-fact involving -
other manufacturers. (/d. {J 341(h), (m), (x) & (y)). These sole contentions regarding the
Suffolk-Only Defendants fail to satisfy Rule 9(b).

First, these vague and conclusory allegations are contrary to this Court’s directive:
“You've got to meet 9(b) requirements. You’ve got to particularize exactly what drugs, exactly.
what the fraud is, what plaintiffs paid for what drugs.” (Tr. of Jan. 13, 2003 Oral Arg. at 74.)
Suffolk does not offer any facts which would support a contention that the AWPs for the
Suffolk-Only Defendants’ drugs were either false or fraudulent, or indeed with respect to
Purdue’s drug, OxyContin, any AWP at all. Nor does Suffolk explain how its proffered
“Estimated True AWP” is calculated.>

Second, Suffolk fails to allege any facts supporting the proposition that the AMPs
(“average manufacturer prices”) reported by the Suffolk-Only Defendants were in any way
inaccurate or that therefore the rebates paid by the Suffolk-Only Defendants under Medicaid -
were somehow reduced by fraudulently reported AMPs, Indeed, if it is Suffolk’s position that
these AMPs were artificially inflated (see Am. Compl. J 360, 370), then Suffolk would have
received higher rebates than it was entitled to receive. How, then, can Suffolk have been
damaged?

Third, Suffolk baldly claims that, Separate and apart from the AWP inflation claim, the
Suffolk-Only Defendants failed to properly report the “Best Price” for the alleged drugs. (Am.
Compl. {J 185, 215, 281, 286.) However, Suffolk presents no evidence to support those claims,

Confessing the obvious absence of support for any such claim, Suffolk instead Tequests that its

3 For example, Suffolk alleges a purported spread of 26% between Forest’s Celexa AWP and
Suffolk’s “Estimated True AWP” for Celexa without explaining why that particular spread is
fraudulent or from what it is derived.

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mere concoction of possible claims should allow it to drag the Suffolk-Only Defendants through
discovery by which Suffolk would hope to discover some evidence of wrongdoing. (/d.) This
sort of wishful pleading does not satisfy Suffolk’s burden under Rule 9(b).

All other allegations in the Amended Complaint are not specific to the Suffolk-Only
Defendants and are devoid of any factual support, direct or indirect, to link the Suffolk-Only
Defendants to the alleged wrongful conduct. Thus, they are insufficient under Rule 9(b).

Il. | SUFFOLK’S MISPLACED MEDICARE RHETORIC AND ALLEGATIONS

REGARDING OTHER DEFENDANTS DO NOT SUPPORT SUFFOLK’S
CLAIMS AS TO THE SUFFOLK-ONLY DEFENDANTS,

Suffolk’s attempt to morph issues and facts relating to Medicare Part B into the Medicaid
context constitutes a demonstrable sleight-of-hand that should be rejected by this Court. By way
of illustration, the Amended Complaint starkly announces that “[e]very free sample of a drug for
which a provider bills the government effectively reduces the provider’s overall cost for that
drug.” (Am. Compl. { 90.) While that may be true in the Medicare Part B context for Medicare
Part B drugs — where the doctor purchases the drug, administers it to the patient and bills
Medicare — the same is not true in the Medicaid context when the drug at issue is not
administered by the doctor and is, instead, filled through a prescription at the local drugstore.
The “provider” in this context is the drugstore, not the doctor, and the drugstore does not receive
free samples from the manufacturer. Even if doctors were to receive samples of the drugs at
issue for the Suffolk-Only Defendants, no Medicaid reimbursement would be sought for those
drugs. Thus, if a patient who is eligible under Medicaid received the sample from the doctor, the

sample provided would eliminate a potential Medicaid claim, saving Suffolk the reimbursement

expense altogether.

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Indeed, Suffolk’s Amended Complaint is replete with Medicare-specific allegations, *
including allegations relating to other Defendants which have nothing whatsoever to do with the
Suffolk-Only Defendants. Among other things, Suffolk makes extensive reference to
governmental investigations of other Defendants, Virtually all of which focus on Medicare issues
and marketing practices used when doctors are the purchasers of the drugs in question.
Whatever the dubious merits of these allegations, they surely do nothing to bolster Suffolk’s
otherwise patently-defective allegations as to the Suffolk-Only Defendants under Medicaid.
Suffolk’s attempt to interject the Suffolk-Only Defendants into these proceedings is unsupported
and has absolutely no basis in fact or law.

CONCLUSION

For the above reasons, as well as those set forth in the Joint Motion to Dismiss, Suffolk’s
claims against the Suffolk-Only Defendants should be dismissed with prejudice.
Dated: September 15, 2003

Respectfully submitted,

GIBBONS, DEL DEO, DOLAN, GRIFFINGER &
VECCHIONE

By: Bare A. Levy

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Attomeys for Defendant
Berlex Laboratories, Inc.

* Unlike in the context of Medicare Part B drugs which are tied solely to AWP, with the.
Medicaid program, defendants are required to report their AMP and “Best Price,” figures based
on actual sales, and to pay rebates to the States based upon those actual figures. Thus, Suffolk
cannot mimic the damage theory alleged with respect to Medicare Part B drug reimbursement. .

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